Case 21-00261-ELG               Doc 14    Filed 11/02/21 Entered 11/02/21 16:36:56       Desc Main
                                         Document      Page 1 of 10



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Debtor and Debtor-In-Possession



                      UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                            )
In re:                                      )
                                            )  Case No. 21-00261
STANTON GLENN LIMITED PARTNERSHIP, )           Chapter 11
                                            )
            Debtor and Debtor In Possession )
__________________________________________)

                       DECLARATION OF TINA SHAW IN SUPPORT OF
                      BANKRUPTCY FILING AND FIRST DAY MOTIONS

         Tina Shaw, as Chief Financial Officer of Stanton Glenn Limited Partnership, under

penalty of perjury states the following:

         1.       I am, and, at all relevant times have been, the Chief Financial Officer ("CFO") of

Stanton Glenn Limited Partnership (the “Debtor”), and I am over the age of 18, mentally

competent and make this declaration in support of the Debtor’s Chapter 11 Bankruptcy filing and

related first day motions.




CORE/3521957.0002/170551735.1
Case 21-00261-ELG         Doc 14     Filed 11/02/21 Entered 11/02/21 16:36:56               Desc Main
                                    Document      Page 2 of 10



        2.     As CFO, I am familiar with the Debtor as well as the general business and

financial affairs of the Debtor. The statements set forth below are true to the best of my personal

knowledge and if called to testify to those statements, I would do so competently.

        3.     This Declaration is submitted in support of factual allegations contained in the

following motions, filed contemporaneously with this Declaration.1

               Emergency Motion for Interim and Final Orders Authorizing Use of Cash

               Collateral and Granting Adequate Protection ("Cash Collateral Motion")

               Emergency Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 105 and

               364 Approving Post-Petition Financing and Continuing Existing Credit

               Agreement ("DIP Financing Motion")

               Motion for Order Approving Debtor's Method of Furnishing Adequate Assurance

               of Payment for Post-Petition Utility Services ("Utilities Motion")

               Motion for Order Authorizing Debtor to Maintain Pre-Petition Bank Account and

               Establishing Procedures for Transfer of Housing Choice Voucher Program

               Payments to Debtor-In-Possession Bank Account ("Bank Account Motion")

 (together, the "First Day Motions").

    OMNIBUS STATEMENT OF FACTS IN SUPPORT OF CHAPTER 11 PETITION AND
                          FIRST DAY MOTIONS

        4.     On October 29, 2021, the Debtor filed a voluntary petition for relief under

Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (as amended, the

"Bankruptcy Code"), which case is pending before the United States Bankruptcy Court for the

District of Columbia (the "Bankruptcy Court").

        5.     Debtor is a single asset real estate limited partnership organized under the laws of

the District of Columbia with a principal place of business located in the District of Columbia.

1
        All capitalized terms not defined in this Declaration have the same meanings ascribed to them in
the corresponding pleadings.

                                                   2
Case 21-00261-ELG       Doc 14    Filed 11/02/21 Entered 11/02/21 16:36:56            Desc Main
                                 Document      Page 3 of 10



       6.     The Debtor owns a 100 percent fee simple interest in a 379-unit Low Income Tax

Credit (“LIHTC”) and market rate multifamily apartment complex consisting of 1, 2, 3, and 4

bedroom units located at 3040-3098 Stanton Road S.E. Washington, DC 20020 known as

“Stanton Glenn Apartments” (the “Property”). The Debtor rents apartments to low income

tenants, many of whom receive housing subsidies through the Housing Choice Voucher Program

(“HCVP”) run by the District of Columbia Housing Authority (“DCHA”) and, by meeting

certain standards of the United States Department of Housing and Urban Development (“HUD”),

receive low income tax credits through HUD’s LIHTC program. The monthly HCVP rental

payments are expected to be paid next to the Debtor on Nov 2-4, 2021.

       7.      As noted above, I am the Chief Financial Officer of the Debtor. Joseph G. Kisha

("Mr. Kisha") serves as the Debtor's sole limited partner and possesses an ownership interest in

the Debtor of 99.991%. Glen Development, an entity 100% owned by Mr. Kisha, serves as

general partner of the Debtor with an ownership interest of 0.009%.

       8.     The appraised value of the Property, based on approved 2019 HUD Fair Market

Rents, is $40 million. The Debtor has very significant equity in the Property. The secured debt

encumbering the Property is approximately $20.4 million.

       9.     Prior to the filing of Debtor's bankruptcy, the Debtor executed an Agreement to

Purchase Real Estate ("Sale Agreement") for sale of the Property to Concord Communities LLC

for the purchase price of $39,500,000.00. As part of the terms of the Sale Agreement, the

Property purchaser has already advanced cash totaling $2 million, which is anticipated to convert

to a full deposit under the Sale Agreement once certain contingencies expire and buyer approvals

are provided on November 3, 2021. The Debtor plans to expeditiously pursue Bankruptcy Court




                                               3
Case 21-00261-ELG         Doc 14    Filed 11/02/21 Entered 11/02/21 16:36:56               Desc Main
                                   Document      Page 4 of 10



approval for sale of the Property and will be using best efforts to close on sale of the Property by

the end of the year.

       10.     The Covid-19 pandemic has caused significant disruptions to the Debtor's

apartment business at the Property. Many tenants at the property have been unable to pay rent

through the pandemic. Relief efforts aimed at preserving the public health, including a

moratorium on evictions, have limited the Debtor's ability to adequately address loss of income

due to tenants' inability to pay rent. As a result, the Debtor is currently operating at a shortfall as

rents are not able to adequately cover expenses associated with operating the Property.

       11.     Following issuance of previous default letters, on September 30, 2021, the

primary secured creditor, Greystone Funding Corporation ("Secured Creditor"), sent the Debtor a

Notice of Default and Acceleration informing the Debtor that its secured loan was in default for

failing to timely make its required payments due in accordance with the note and mortgage/deed

of trust securing the Debtor’s Federal Housing Authority-insured loan. In the notice the Secured

Creditor threatened the Debtor with various collection actions and remedies based on the

asserted defaults, and notified the Debtor that pursuant to the terms of Secured Creditor's deed of

trust, it was exercising its right to accelerate the loan. Additionally, the District of Columbia

Water and Sewer Authority previously asserted liens against the Property, with the total balance

owing for water utilities believed to currently be approximately $1,351,214.19. Numerous other

Certificates of Delinquent Costs for fines asserted against the Property have also been filed by

the D.C. Department of Consumer & Regulatory Affairs totaling approximately $26,000,

approximately $6,000.00 of which is believed to be a duplicate.




                                                  4
Case 21-00261-ELG         Doc 14    Filed 11/02/21 Entered 11/02/21 16:36:56              Desc Main
                                   Document      Page 5 of 10



       12.      Based on the foregoing, the Debtor has filed for Chapter 11 bankruptcy relief in

order to effectuate a successful sale of the Property and liquidation of the Debtor's assets once

that sale has been consummated.

                DECLARATION IN SUPPORT OF FIRST DAY MOTIONS

       13.     As a result of my first-hand experience, and through my review of various

materials and information, discussions with other of the Debtor’s executives and staff, and

discussions with the Debtor’s outside advisors, I have formed opinions as to (a) the necessity of

obtaining the relief sought by the Debtor in its First Day Motions, (b) the deleterious effects

upon the Debtor of not obtaining such relief and (c) the immediate and irreparable harm to which

the Debtor will be exposed immediately following the Petition Date unless the relief requested in

the First Day Motions is granted without delay.

       14.     I submit this Declaration in support of the Petitions and First Day Motions filed

with the Court in connection with the commencement of this case.

       15.     I participated in preparing and have reviewed each of the First Day Motions

(including the exhibits and schedules attached thereto) and, to the best of my knowledge, believe

that the facts set forth therein are true and correct.        Such representation is based upon

information and belief and through my review of various materials and information, as well as

my experience and knowledge of the Debtor’s operations and financial condition. If I were

called upon to testify, I could and would, based on the foregoing, testify competently to the facts

set forth in each of the First Day Motions.

       16.     The relief sought in the First Day Motions will minimize the adverse effects of

this Chapter 11 case on the Debtor and result in maximum creditor recoveries while preserving

the health and safety of the Property's tenants. I believe that the relief sought in each of the First



                                                  5
Case 21-00261-ELG        Doc 14     Filed 11/02/21 Entered 11/02/21 16:36:56             Desc Main
                                   Document      Page 6 of 10



Day Motions is necessary to enable the Debtor to operate effectively in Chapter 11 as debtor in

possession and maximize the value of its assets for the benefit of stakeholders.

Cash Collateral Motion

       17.     As stated in the Cash Collateral Motion, the Debtor requires the use of the Cash

Collateral, consisting of rents derived from the Property, in order to continue to operate, preserve

and maintain the Property, and to comply with its duties as a debtor-in-possession. Unless the

Debtor is permitted to use the Cash Collateral, it and its tenants will be irreparably harmed

because it will be unable to operate and manage the Property and preserve and maintain its going

concern value. The Debtor requires the use of Cash Collateral for the payment of, among other

things, adequate protection payments, operating expenses, utilities expenses, maintenance and

security expenses, U.S. Trustee Fees, and other expenses as more fully set forth in the Budget.

The Debtor’s use of Cash Collateral to operate its business will protect the value of the Property

and preserve the health and safety of tenants residing at the Property until the Property is sold.

       18.     As CFO of the Debtor, I assisted in preparing and have reviewed the budgets (18

day and 90 day) attached to the Cash Collateral Motion, which are good faith estimates of

projected income and expenses of the Debtor for the next 3 months. The Debtor will maintain a

detailed accounting of all expenses funded by the cash collateral generated by its business

operations.

DIP Financing Motion

       19.     The Debtor needs immediate access to DIP Financing to fund its business pending

completion of the anticipated sale of the Property.

       20.     As seen in the budgets presented in the Debtor's Cash Collateral Motion, use of

rents derived from the Property are not expected to cover the carefully budgeted operational



                                                  6
Case 21-00261-ELG        Doc 14      Filed 11/02/21 Entered 11/02/21 16:36:56           Desc Main
                                    Document      Page 7 of 10



expenses of the Debtor while working to complete sale of the Property in the bankruptcy, with

shortfalls each month ranging from approximately $81,000 to $157,000. The proposed DIP

financing is necessary to ensure the Debtor is able to meet its operational expenses presented in

the budget and to preserve the health and safety of tenants residing at the Property until the

Property is sold.

       21.      On February 12, 2021, Mr. Kisha and the Debtor entered into a Commercial

Balloon Credit Line Promissory Note (the “Note”), a copy of which is attached as Exhibit A to

the DIP Financing Motion. Pursuant thereto, Mr. Kisha has advanced $487,803.19 to the Debtor

prepetition. Mr. Kisha has agreed to continue his credit agreement with the Debtor and to

provide debtor-in-possession financing to the Debtor in accordance with the terms of the Note

(the “DIP Facility”).

       22.     As demonstrated in the terms presented in the DIP Financing Motion, the terms of

the DIP Facility negotiated by the Debtor are on the most favorable terms available to Debtor,

are reasonable under the circumstances, and the Debtor believes that, given the notable absence

of any alternative source of financing, approval of the DIP Facility is in the best interests of the

Debtor and its bankruptcy estate.

       23.      After reviewing the proposal submitted by Mr. Kisha, the Debtor determined, in

the exercise of its business judgment, that the financing offered by Mr. Kisha was in the best

interests of its estate. In the absence of immediate authorization for the entry into a debtor-in-

possession financing facility, the Debtor may be unable to continue operating, and could suffer

immediate and irreparable harm, including loss of the opportunity to consummate a sale of its

business as a going concern.




                                                 7
Case 21-00261-ELG         Doc 14    Filed 11/02/21 Entered 11/02/21 16:36:56               Desc Main
                                   Document      Page 8 of 10



       24.      The Debtor submits that a working capital facility of the type needed in this case

could not have been obtained on an unsecured basis from any other source. The potential

sources of an adequate credit facility for the Debtor, obtainable quickly and on reasonable terms,

were extraordinarily limited.

       25.     Given the nature of the Debtor’s business, it is crucial that the Debtor continues to

function as a going concern. As such, in order to preserve the value of the Debtor’s estate,

access to substantial credit is necessary to meet the substantial day-to-day operating costs

associated with the Debtor’s expenses. Access to sufficient cash, therefore, is critical to the

continued viability of the Debtor’s business.

Utilities Motion

       26.     The Debtor's day-to-day operations require the use of water, electric, telephone

(including telephone and data services), and other services provided by its utility companies. As

a large apartment complex serving low income residents of the District, maintaining utility

service is critical to maintaining the Debtor's business as a going concern until it is sold, ensuring

the Property is being maintained in accordance with the D.C. Housing Code, and is necessary to

preserving the health and safety of residents residing at the Property. Interruption of the utility

services would disrupt the Debtor’s ability to conduct business.

       27.     As presented in the Utilities Motion, the Debtor intends to pay post-petition

obligations owed to the Utility Providers in the ordinary course of business and in a timely

manner. The Debtor expects that its cash flow from operations, cash on hand, and availability of

DIP Financing will be sufficient to pay post-petition obligations related to its utility service.

       28.     Nevertheless, to provide additional assurance of payment for future services to the

Utility Providers, the Debtor proposes to deposit into a newly created, segregated, interest-



                                                  8
Case 21-00261-ELG       Doc 14    Filed 11/02/21 Entered 11/02/21 16:36:56           Desc Main
                                 Document      Page 9 of 10



bearing account (the “Adequate Assurance Deposit Account”) within twenty days of the

Commencement Date, $34,925, an amount equal to the estimated aggregate cost for two weeks

of utility service, calculated as a historical average over the past six months (the “Adequate

Assurance Deposit”). The Adequate Assurance Deposit will be held for the benefit of the Utility

Providers during the pendency of this Chapter 11 case.

       29.    The Debtor submits that the Adequate Assurance Deposit, in conjunction with the

Debtor’s ability to pay for future utility services in the ordinary course of business (the

“Proposed Adequate Assurance”), constitutes sufficient adequate assurance to the Utility

Providers.

Bank Account Motion

       30.    Monthly the Debtor receives a portion of its income from rental payments made

directly from Property tenants. However, many tenants of the Property receive housing subsidies

through the Housing Choice Voucher Program (“HCVP”) run by the District of Columbia

Housing Authority (“DCHA”).        Through the HCVP, the Debtor receives approximately

$172,000 - $200,000 of income from DCHA each month.

       31.    Prior to the Petition Date, the Debtor maintained a total of five (5) separate bank

accounts for various business purposes at Wells Fargo Bank, John Marshall Bank, and Sandy

Spring Bank. Included in these accounts is the Debtor’s account maintained with Sandy Spring

Bank (Account No. xxxx1438) (the “HCVP Account”). The HCVP Account is registered with

DCHA as the account authorized to receive electronic deposits of monthly housing subsidy

payments due to the Debtor under the HCVP.

       32.    In order to comply with the UST’s guidelines, the Debtor is currently in the

process of opening DIP bank accounts with Sandy Spring Bank, transferring Debtor’s cash assets



                                               9
Case 21-00261-ELG       Doc 14    Filed 11/02/21 Entered 11/02/21 16:36:56            Desc Main
                                 Document     Page 10 of 10



from its existing bank accounts to the new Sandy Spring Bank DIP accounts, and closing all of

its pre-petition bank accounts other than the HCVP Account.

       33.     Through the Bank Account Motion, the Debtor is seeking authority to continue to

maintain the HCVP Account post-petition solely to receive electronic deposits from DCHA due

to the Debtor under the HCVP.

       34.     Transferring the registered account with DCHA from the HCVP Account to a

newly established DIP account would likely be an involved process and take a considerable

amount of time to complete. Transferring the registered deposit account could also potentially

cause delay in the Debtor receiving funds due to the Debtor under the HCVP, which is crucial to

Debtor maintaining timely payment of its monthly obligations. Accordingly, the Debtor believes

it to be in the best interest of the estate to maintain the HCVP Account post-petition as the

registered account to receive monthly deposits from DCHA due under the HCVP.

       35.     The Debtor understands and is prepared to implement the procedures set forth in

the Bank Account Motion for maintaining and operating the HCVP Account for the duration of

the case unless otherwise ordered by the Court.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: November 2, 2021.


                                                            Tina Shaw, Chief Financial Officer
                                                            Stanton Glenn Limited Partnership




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